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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Ronald H. Pratte,                                  No. CV-19-00239-PHX-GMS
10                  Plaintiff,                          PROTECTIVE ORDER
11   v.
12   Jeffrey Bardwell, et al.,
13                  Defendants.
14
15          Upon the stipulation of the parties, and for good cause shown, and for the purpose
16   of protecting confidential personal or business information and facilitating discovery,

17          IT IS HEREBY ORDERED as follows:
18          1. Discovery in this case may require production of documents and disclosure of

19   information which the parties or producing party (the “producing party”) consider

20   confidential and/or proprietary in nature which, in turn, requires protection against
21   unrestricted disclosure and use.
22          2. The producing party may designate documents, ESI, or other materials

23   “Confidential,” as specified below. The producing party shall apply a confidentiality

24   designation only when that party has a reasonable, good faith belief that the information so

25   designated constitutes “Confidential” material. The protections conferred by this Order

26   cover not only the protected information itself, but also any information copied or extracted
27   therefrom, as well as copies, excerpts, summaries, or compilations thereof, plus testimony,
28   conversations, or presentations by parties or counsel to or in court or in other settings that
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 1   might disclose protected material to persons not authorized to receive such material.
 2                a.     Manner and Timing of Designations. Except as otherwise provided in
 3         this Order, or as otherwise stipulated or ordered, disclosure or discovery material
 4         must be designated for protection under this Order by clearly designating the
 5         material before it is disclosed or produced, or for information disclosed before entry
 6         of this Order, within thirty (30) days following the entry of this Order. Any and all
 7         confidential designations made by the parties must be made in good faith.
 8                b.     “Confidential” Information or Items. Materials that may be designated
 9         as “Confidential” include information (regardless of how generated, stored, or
10         maintained), testimony, or tangible things obtained during discovery in this action
11         that reveal a trade secret, or other confidential research, development, or financial
12         information that is commercially sensitive, or that otherwise is entitled to protective
13         treatment under Fed R. Civ. P. 26(c), and personal information that is protected from
14         disclosure by statute, regulation, or otherwise entitled to protection from public
15         disclosure.
16                c.     The designation of materials as “Confidential” shall be made as
17         follows:
18                       (i)     for produced documents, by imprinting by any means
19                including hand-written notations the word “Confidential” on the face of each
20                page of a document so designated or in a similarly conspicuous location for
21                non-document materials;
22                       (ii)    for written discovery responses, by imprinting the word
23                “Confidential” next to or above any response to a discovery request or on
24                each page of a response;
25                       (iii)   for depositions, by indicating on the record at the deposition
26                which portions of the transcript and/or responses should be treated as
27                “Confidential.” Alternatively, within thirty (30) days of receipt of a transcript
28                or recording of a deposition or other pretrial or court proceeding, the offering


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 1                 or sponsoring party or non-party may designate such transcript or recording,
 2                 or any portion thereof, as “Confidential” by notifying all parties, in writing,
 3                 of the specific pages and lines of the transcript or recording that should be
 4                 treated as “Confidential.” All transcripts or recordings of depositions shall
 5                 be treated as “Confidential” for thirty (30) days after receipt of the transcript
 6                 or recording, or until any and all written notices of Confidential designations
 7                 are received, whichever occurs first. Transcripts designated at the time of the
 8                 deposition as containing Confidential material shall be clearly and
 9                 conspicuously marked by the court reporter on the cover of the transcript as
10                 follows:      “This   transcript   contains    information     designated     as
11                 CONFIDENTIAL under the terms of the Parties’ Stipulated Protective
12                 Order entered by the Court in this case”;
13                        (iv)     for ESI, either by imprinting the word “Confidential” on any
14                 disk or storage medium, or on the face of each page of a document so
15                 designated, or by designating the production as “Confidential” in the
16                 transmittal cover letter.
17          3.     Subpoenas duces tecum. For documents produced by non-parties pursuant to
18   subpoenas duces tecum, the party that receives the documents pursuant to the subpoena
19   will promptly (not more than 14 calendar days) produce copies of all documents received
20   to the other parties in this litigation and not await the filing of a supplemental MIDP
21   disclosure. Within fifteen days of providing copies of the subpoenaed documents to the
22   other parties, any party shall have the ability to designate any of the subpoenaed documents
23   “confidential” pursuant to this Stipulated Protective Order.
24          4.     Any information or documents so designated shall be used only in the
25   prosecution and defense of this case through the conclusion of this case, including appeals
26   if any, and shall be restricted solely to the following persons unless and until this Court
27   rules that any such protected information should be disclosed beyond the limits permitted
28   by this Order:


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 1                  a.     The parties and officers, members, or persons employed directly by
 2         the parties, the attorneys of record for the parties, and persons directly employed by
 3         the attorneys of record for the specific and sole purpose of assisting said attorneys
 4         in the case. Such individuals shall be bound by the terms of this Order;
 5                  b.     Experts and consultants retained by the attorneys or parties in the case,
 6         provided that each such expert and consultant shall execute a copy of Exhibit A,
 7         attached hereto, and provide a copy of the executed Exhibit A to the producing
 8         party;
 9                  c.     Non-party deponents, on the condition that they are first placed on
10         notice that they are prohibited from disclosing or making use of any such protected
11         information which may be disclosed to them in the course of discovery or any other
12         proceeding in the case, and who agree on the record that they will maintain the
13         confidentiality of the information disclosed;
14                  d.     The Court, Court personnel and staff, and stenographers and
15         videographers at any deposition or Court proceeding;
16                  e.     Outside and/or in-house counsel of any corporate entities or
17         defendants;
18                  f.     Authors, addressees, originators, or producing party of the protected
19         information;
20                  g.     Jurors at any trial in this matter may be presented such materials
21         (subject to redaction of social security numbers and other personal non-relevant
22         data) as exhibits, if otherwise relevant to any claim or defense and if found
23         admissible by the Court subject to any other evidentiary challenges.
24         5.       Copies of protected documents may be made for the experts and consultants
25   described in paragraph 4(b), provided such individuals comply with the requirements of
26   paragraph 4(b).
27         6.       All transcripts, depositions, exhibits, answers to interrogatories, and other
28   documents filed with the Court during the case that have been designated by any party as


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 1   “Confidential,” pursuant to paragraph 2(C) above, shall be filed in accordance with the
 2   Court’s procedure(s) under Local Rule 5.6.
 3          7.     All protected information, as well as duplicates and other documents
 4   referring in whole or in part to the protected information and the information contained
 5   therein, shall be maintained in confidence by all counsel and persons to whom disclosure
 6   is made pursuant to this Order, and shall be used only for purposes of this case or as
 7   provided for herein, and shall not be disclosed to anyone other than the persons and in the
 8   manner described herein.
 9          8.     On final termination of this action, including appeals, if any, each party and
10   other person subject to the terms hereof shall return to the producing party all materials and
11   documents containing protected information, all copies, summaries, and abstracts thereof,
12   and all other materials, memoranda or documents embodying data concerning said
13   material. Alternatively, and subject to the provisions of paragraph 12 below, the parties or
14   their counsel may certify to the opposing party that all documents marked “Confidential”
15   have been deleted within thirty days after a final termination of this action. There is not a
16   final termination of this action until all time periods to appeal, if any, have been exhausted.
17          9.     Entry of this Order shall be without prejudice to any party’s motion for relief
18   from or modification of the provisions hereof or to any other motion relating to the
19   production, exchange, or use of any document or ESI, or other information in the course
20   of this action. If a party disagrees with a producing party’s designation of information as
21   “Confidential,” or disputes the limitations on access to be accorded such information under
22   this Order, the party contesting the designation or restriction on access shall provide to the
23   producing party written notice of its disagreement and specifically identify the information
24   or restriction on access in dispute. If, despite good faith effort, the dispute cannot be
25   resolved informally by the parties within ten (10) business days of the producing party’s
26   receipt of the written notice, the party contesting the designation or restriction on access
27   may seek a determination from the Court with respect to the propriety of the “confidential”
28   designation. The producing party shall then have five (5) business days from the filing of


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 1   a motion contesting the designation or restriction on access to file an opposition to such
 2   motion, following which the contesting party shall be afforded three (3) business days to
 3   file a reply memorandum. The “Confidential” status of the challenged material shall be
 4   maintained until the Court shall rule on the motion. While the challenging party must
 5   initiate the motion before the Court, it is the burden of the party seeking protection under
 6   this Order to demonstrate that the “Confidential” designation is appropriate. A challenge
 7   under this paragraph shall not affect a party’s right of access to “Confidential” material or
 8   to disclose information as provided for in this Order. A party does not waive its right to
 9   challenge a confidentiality designation by not electing to mount a challenge within any
10   specific time period after the original designation is made.
11          10.    Nothing contained in this Order or any designation of confidentiality
12   hereunder, or any failure to make such designation, shall be used or characterized by any
13   party as an admission by a party or a party opponent. Nothing in this Order shall be deemed
14   an admission that any particular information designated as “Confidential” is entitled to
15   protection under the Order, Fed. R. Civ. P. 26(c), or any other law. Nothing in this Order
16   shall be construed as granting any person or entity a right to receive specific “Confidential”
17   information where a court has entered an order precluding that person or entity from
18   obtaining access to that information.
19          The parties specifically reserve the right to challenge the designation of any
20   particular information as “Confidential,” and agree that no party waives any right it
21   otherwise would have to object to disclosing or producing any information or item on any
22   ground not addressed in this Order.
23          Similarly, no Party waives any right to object on any ground to introduction or use
24   as evidence of any of the disclosure or discovery material covered by this Order.
25   Furthermore, the parties specifically reserve the right to apply to the Court for a further
26   protective order or in camera inspection relating to any protected information or discovery
27   material, and the right to seek a modification of this Order.
28          11.    Absent written permission from the Producing Party or a court order secured


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 1   after appropriate notice to all interested persons, a Receiving Party may not file or disclose
 2   in the public record any Confidential Information. The following requirements apply to
 3   filing Confidential Information:
 4                 a.     Any Party seeking to file any documents with the Court in this action
 5          that contain, attach, or refer to Confidential Information shall lodge such documents
 6          under seal pursuant to the Court’s rules and filing procedures, including LRCiv 5.6
 7          and the Electronic Case Filing Administrative Policies and Procedures Manual. In
 8          addition to lodging the documents under seal, the filing Party shall also lodge a
 9          publicly-accessible version of the documents, with the Confidential Information
10          redacted. The filing Party shall ensure that the underlying redacted text or other
11          information is not accessible. The techniques of electronically highlighting the text
12          with black color highlighting or changing the text color to white are not sufficient.
13                 b.     The conference required by LRCiv 5.6(d) shall occur no later than
14          three business days before the anticipated filing date. At that conference, the Parties
15          shall also confer about appropriate redactions. If the Parties are unable to agree on
16          what material must be redacted, then the Party that wishes to file the document or
17          refer to the Confidential Information must email the document and identify the
18          Confidential Information to be included to the Party who designated the material
19          “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
20          ONLY” no later than two business days before the anticipated filing date in order
21          to allow the Producing Party to identify appropriate redactions, and the Party that
22          wishes to file the document shall adopt those redactions in the publicly-accessible
23          versions of the document.
24                 c.     Nothing in this Protective Order shall be construed as automatically
25          permitting a Party to file any document under seal. See Kamakana v. City and
26          County of Honolulu, 447 F.3d 1172, 1174 (9th Cir. 2006); Ctr. for Auto Safety v.
27          Chrysler Grp., L.L.C., 809 F.3d 1092 (9th Cir. 2016).
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 1          12.    The inadvertent or unintentional disclosure by the producing party shall not
 2   be deemed a waiver of the confidential nature of the information disclosed.
 3          13.    Notwithstanding paragraph 8 above, in the event Plaintiff prevails in whole
 4   or in part on any of his claims, the parties reasonably foresee the possibility that they may
 5   need to amend various state and federal tax returns to ensure compliance with federal and
 6   state law in light of changed positions. While the provisions of confidentiality shall
 7   continue to apply to the Parties with respect to disclosure to any third-parties generally,
 8   retention of confidential documents and the disclosure of any pertinent confidential
 9   documents or tax records or returns may become necessary for the purpose of amending
10   pertinent tax returns and explaining or justifying past positions taken by the parties to state
11   or federal taxing authorities with respect to any relevant tax years. Any and all other
12   confidential information not necessary for the purpose specified herein shall remain subject
13   to return or destruction as provided in paragraph 8 above.
14          14.    The parties and any other person(s) subject to the terms of this Order agree
15   that the Court shall retain jurisdiction over them for the purpose of enforcing this Order.
16   This Order shall survive the termination of this lawsuit.
17          Dated this 17th day of July, 2019.
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 1                                          EXHIBIT A
 2       ACKNOWLEDGMENT OF CONFIDENTIALITY DESIGNATIONS AND
 3            AGREEMENT TO BE BOUND BY TERMS OF COURT ORDER
 4   I, ____________________________, hereby acknowledge that I may receive confidential
 5   information in connection with the following case:
 6          Ronald H. Pratte v. Jeffery Bardwell, et al., Case No. 2:19-cv-00239-PHX-GMS,
 7   currently pending in the United States District Court for the District of Arizona.
 8          I hereby certify my understanding that if I receive designated confidential
 9   information it is being provided to me pursuant to the terms and restrictions of the
10   Protective Order entered on _______________, ____, in this case. I further certify that I
11   have been given a copy of and have read the terms of that Protective Order, that I agree to
12   be bound by its terms, and that I submit to the jurisdiction of the Court for purposes of
13   enforcing that Protective Order.
14          Dated this _____ day of _______________, _______.
15
16                        ___________________________________
17                        Signature
18                        ____________________________________
19                        Printed Name
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